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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                   No. 07-20327

vs.                                         HONORABLE JULIAN ABELE COOK JR.

ROY BAILEY (D-1),

            Defendant.
__________________________________/

      DEFENDANT ROY BAILEY’S MEMORANDUM IN AID OF SENTENCING

       Roy Bailey, through undersigned counsel, respectfully submits this Memorandum in Aid

of Sentencing. On March 9, 2009, Mr. Bailey will come before this Court to be sentenced for the

crimes of Conspiracy to Defraud the United States, 18 U.S.C. § 371, Misprision of Felony, 18

U.S.C. § 4, and Conspiracy to Commit Bribery. 18 U.S.C. §§ 201, 371. For the reasons stated

below, counsel requests that the Court impose a sentence of fourteen months of incarceration.

I.     INTRODUCTION

       Roy Bailey has served in the military and the federal government for nearly three

decades. Beginning in the late 1990s, after more than twenty years of honorable service to the

United States, Mr. Bailey began to occasionally perform favors for friends in his capacity as

Assistant District Director of Detention and Deportation (ADD) with the Immigration and

Naturalization Service (INS) and the Department of Homeland Security/Immigration and

Customs Enforcement (ICE). On September 16, 2008, Mr. Bailey accepted full responsibility

for his conduct and entered pleas of guilty to the charges of Conspiracy to Defraud the United

States, Misprision of Felony, and Conspiracy to Commit Bribery pursuant to an agreement with

the United States.
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       For a number of reasons, including Mr. Bailey’s nearly three decades of honorable

government and military service and the absence of any criminal history, counsel requests that

the Court impose a sentence of fourteen months of incarceration. The requested sentence is

reasonable and is supported by the factors enumerated in 18 U.S.C. § 3553(a).                   This

memorandum discusses Mr. Bailey’s unlawful conduct and provides the Court with information

about Mr. Bailey’s history and character. Mr. Bailey accepts full responsibility for what he has

done and recognizes that he must be punished for his crimes. Through this memorandum,

counsel seeks not to justify or excuse Mr. Bailey’s criminal conduct, but to provide context for

his actions and a more complete picture of Mr. Bailey’s personal characteristics. Counsel’s goal

is to assist the Court in imposing a sentence that is “sufficient, but not greater than necessary” to

comply with the purposes of sentencing set forth in 18 U.S.C. § 3553. 18 U.S.C. § 3553(a). See

United States v. Kimbrough, 128 S. Ct. 558, 570 (2007) ([18 U.S.C. § 3553(a)], as modified by

Booker, contains an overarching provision instructing district courts to ‘impose a sentence

sufficient, but not greater than necessary,’ to achieve the goals of sentencing.”)

II.    THE LAW GOVERNING THE SENTENCING DETERMINATION

       In Gall v. United States, -- U.S. --, 128 S. Ct. 586, 169 L. Ed. 2d 445 (2007), the Supreme

Court outlined the steps a District Court should undertake when imposing sentence:

               As we explained in [Rita v. United States, 551 U.S. 338,
               127 S. Ct. 2456 (2007)], a district court should begin all
               sentencing proceedings by correctly calculating the
               applicable Guidelines range. As a matter of administration
               and to secure nationwide consistency, the Guidelines
               should be the starting point and the initial benchmark. The
               Guidelines are not the only consideration, however.
               Accordingly, after giving both parties an opportunity to
               argue for whatever sentence they deem appropriate, the
               district judge should then consider all of the § 3553(a)
               factors to determine whether they support the sentence
               requested by a party.



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Gall, 128 S. Ct. at 596 (internal citation and footnote omitted). Continuing, the Supreme Court

explained,

               In so doing, [the district court judge] may not presume that
               the Guidelines range is reasonable. He must make an
               individualized assessment based on the facts presented. If
               he decides that an outside-Guidelines sentence is
               warranted, he must consider the extent of the deviation and
               ensure that the justification is sufficiently compelling to
               support the degree of the variance.             We find it
               uncontroversial that a major departure should be supported
               by a more significant justification than a minor one. After
               settling on the appropriate sentence, he must adequately
               explain the chosen sentence to allow for meaningful
               appellate review and to promote the perception of fair
               sentencing.

Id. at 596-597 (internal citations omitted; emphasis added).

       After describing the District Court’s sentencing duties, the Court in Gall discussed the

limited and deferential role of the appellate courts in reviewing challenges to sentences:

“Regardless of whether the sentence imposed is inside or outside the Guidelines range, the

appellate court must review the sentence under an abuse-of-discretion standard.” Gall, 128 S.

Ct. at 597. The Court then articulated the two-step review that appellate courts should follow

under this deferential abuse-of-discretion standard.

               [The appellate court] must first ensure that the district court
               committed no significant procedural error, such as failing
               to calculate (or improperly calculating) the Guidelines
               range, treating the Guidelines as mandatory, failing to
               consider the § 3553(a) factors, selecting a sentence based
               on clearly erroneous facts, or failing to adequately explain
               the chosen sentence – including an explanation for any
               deviation from the Guidelines range.




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Id. Second, “[a]ssuming that the district court’s sentencing decision is procedurally sound, the

appellate court should then consider the substantive reasonableness of the sentence imposed

under an abuse-of-discretion standard.” Id. The Court further explained:

               When conducting this review, the [appellate] court will, of
               course, take into account the totality of the circumstances,
               including the extent of any variance from the Guidelines
               range. . . . [I]f the sentence is outside the Guidelines range,
               the court may not apply a presumption of
               unreasonableness. It may consider the extent of the
               deviation, but must give due deference to the district
               court’s decision that the § 3553(a) factors, on a whole,
               justify the extent of the variance. The fact that the
               appellate court might reasonably have concluded that a
               different sentence was appropriate is insufficient to justify
               reversal of the district court.

Id. (emphasis added).

       In Gall, the Supreme Court also discussed the “practical considerations” that underlie the

deference that is due to a District Court’s sentencing decision. First, the sentencing judge “is in a

superior position to find facts and judge their import under § 3553(a) in the individual case. The

judge sees and hears the evidence, makes credibility determinations, has full knowledge of the

facts and gains insights not conveyed by the record.” Gall, 128 S. Ct. at 597 (internal quotation

marks and citation omitted). “‘The sentencing judge has access to, and greater familiarity with,

the individual case and the individual defendant before him than the [Sentencing] Commission or

the appeals court.’” Id. at 597-598 (quoting Rita, 127 S. Ct. at 2469).

       Second, “‘[d]istrict courts have an institutional advantage over appellate courts in making

these sorts of determinations, especially as they see so many more Guidelines sentences than

appellate courts do.’” Gall, 128 S. Ct. at 598 (quoting Koon v. United States, 518 U.S. 81, 98

(1996)) (footnote omitted). To support this point, the Court noted that, on average, district

judges sentence 117 defendants every year, whereas appellate courts see many fewer cases



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because “[o]nly a relatively small fraction of these defendants appeal their sentence on

reasonableness grounds.” Id. at 598 n.7 (citations omitted).

       Applying these steps to the facts before it in Gall, the Supreme Court upheld the

probation-only sentence that the District Court imposed, even though the advisory Guidelines

called for a sentence ranging from thirty-to-thirty-seven months of imprisonment based upon

Gall’s guilty plea, in which Gall stipulated that he was responsible for the distribution of at least

2,500 grams of the drug ecstacy. Gall, 128 S. Ct. at 592-593. The Court reversed the Eighth

Circuit and upheld the reasonableness of the district court’s probation-only sentence in Gall,

even though it involved a serious crime. The Supreme Court concluded “that the District Judge

committed no significant procedural error. He correctly calculated the applicable Guidelines

range, allowed both parties to present arguments as to what they believed the appropriate

sentence should be, considered all of the § 3553(a) factors, and thoroughly documented his

reasoning.” Id. at 598.

       In the sentencing decision that the Supreme Court upheld in Gall, the District Court

stated that it had considered all the factors under 18 U.S.C. § 3553(a); Gall’s withdrawal from

the conspiracy almost four years before he was indicted; Gall’s post-offense conduct, especially

his obtaining a college degree and starting his own successful business; the letters of support

from his family, friends and those with whom he did business; his lack of criminal history; and

his age at the time of the offense. Gall, 128 S. Ct. at 593. The judge also reminded Gall that

probation was not an act of leniency but, instead, was a substantial restriction of his freedom that

included the potential for harsh consequences should Gall violate any of the conditions of his

probation. Id.




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       In upholding the district court’s sentence in Gall, the Supreme Court also noted that, in

Koon, it had explicitly rejected the government’s argument that de novo appellate review was

necessary to protect against unwarranted disparities arising from the differing sentencing

approaches of individual district judges. Gall, 128 S. Ct. at 598 n.8 (internal quotation marks

and citation omitted). “Even then [in 1996] we were satisfied that a more deferential abuse-of-

discretion standard could successfully balance the need to ‘reduce unjustified disparities’ across

the Nation and ‘consider every convicted person as an individual.’” Id. (quoting Koon, 518 U.S.

at 113).

       The Courts of the Sixth Circuit have faithfully applied Booker, Gall, and Kimbrough and,

in several cases, have acknowledged the appropriateness of significant downward departures. In

United States v. Weisberg, 297 Fed. Appx. 513 (6th Cir. 2008), the Sixth Circuit reviewed a

district judge’s downward variance in a tax evasion case. The district judge correctly calculated

the Guidelines level of eighteen, which carries exposure of eighteen-to-twenty-four months of

incarceration. Id. at 515. The district judge then noted the absence of a prior criminal record, the

defendant’s thirty years of service to the legal profession and the defendant’s struggles with

gambling addiction, heart disease, high blood pressure, and diabetes. See id. The judge then

expressed his view that the Guidelines range was greater than necessary to achieve the

sentencing purposes of 18 U.S.C. 3553(a)(2). See id.         The judge sentenced Weisberg to five

months of incarceration and five months of home confinement. The Government appealed this

“72% reduction” from the Guidelines range.           Id. at 517.   The Court of Appeals affirmed

Weisberg’s sentence, noting that “the district court considered the relevant sentencing factors

and had a well articulated rationale for its variance.” Id.; see also United States v. Grossman,

513 F.3d 592 (6th Cir. 2008) (upholding district court’s sentence of 66 months in prison in child




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pornography case where Guidelines called for up to 120 months); United States v. Evan Stern,

Case no. 5:07 – CR-00524 Memorandum & Order (N.D. Oh. December 19, 2008) (sentencing

defendant to twelve months and one day of incarceration where Guidelines range was forty-six-

to-fifty-seven months).

III.    THE ADVISORY GUIDELINES CALCULATION

        a.      The Plea Agreement Correctly States the Advisory Guideline Offense Level

        Mr. Bailey and the Government agree that the Rule 11 Plea Agreement specifies the

correct offense level of nineteen, which results in an advisory Guidelines range of thirty-to-

thirty-seven months of incarceration (i.e., the same advisory Guidelines range that applied in

Gall, where the Supreme Court upheld a probationary sentence). 1 The Presentence Investigation

Report (PSR) incorrectly concludes that the applicable offense level is 20, resulting in an

advisory Guidelines range of thirty-three-to-forty-one months of incarceration. See PSR at 15.

The PSR arrives at an offense level of twenty by erroneously including as a “loss amount”

attributable to Mr. Bailey the costs that the Government has projected it will incur as it returns

the property that Patrick Wynne stole from INS/ICE detainees. See PSR at ¶¶39, 89. It is true

that Mr. Bailey learned of Mr. Wynne’s misappropriation of detainee property at some point

during his service as ADD, but Mr. Bailey did not take any property from the detainees himself

and did not profit in any way from Mr. Wynne’s thefts. For at least three reasons, the cost of

returning property to Mr. Wynne’s victims should not be incorporated in Mr. Bailey’s Guidelines

calculation: 1) the cost on which the PSR relies has not been proven by a preponderance of the




1
 The parties’ sole Guidelines dispute pertains to the number of victims and loss amount calculations for the
Misprision count and is addressed below. See infra §III(b).


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evidence; 2) it is not the type of expense that is properly considered a “loss amount” for

Guidelines purposes; and 3) it exists as a result of Mr. Wynne’s conduct, not Mr. Bailey’s. 2

        The amount of money that the PSR claims the Government will spend to return the

property stolen by Mr. Wynne -- $157,000 -- has not been proven to the Court in any reliable

way. The PSR draws this figure from an estimate that the Government provided in 2005, in

anticipation of Mr. Wynne’s sentencing. Nearly four years later, the PSR relies on that same

estimate with no discussion of what has happened during the last four years, and without

providing corroborative information of any kind.              Loss amounts must be established by a

preponderance of the evidence. U.S.S.G. § 6A1.3 comment. This so-called loss amount (which

should not be attributed to Mr. Bailey in any event) has been proffered based solely on an

outdated estimate. Such a paltry showing does not constitute proof by a preponderance of the

evidence.

        Moreover, the Government’s estimated costs are not “loss amounts” for Sentencing

Guidelines purposes because they do not constitute “actual loss” or “intended loss” that flows

from Mr. Bailey’s conduct.           U.S.S.G. § 2B1.1 application notes 3(A)(i), 3(A)(ii).                 The

Government’s costs cannot be “intended losses” flowing from Mr. Bailey’s conduct, because Mr.

Bailey -- who merely failed to report Mr. Wynne’s thefts -- never specifically intended to cause

any loss to anyone, and certainly not to the Government. Similarly, the Government’s estimated

costs are not “actual losses” associated with Mr. Bailey’s offenses for two reasons. First, these

costs resulted from Mr. Wynne’s thefts, not from Mr. Bailey’s failure to report the thefts.

Second, the costs are exactly the type of government expenses that the Guidelines expressly

exclude from § 2B1.1 loss amount calculations. The Guidelines specifically exclude, “[c]osts to


2
 Inexplicably, the PSR factors this loss amount into the calculation of Mr. Bailey’s exposure on the Bribery and
Conspiracy counts. These counts have absolutely nothing to do with Patrick Wynne’s thefts. See PSR at ¶39.


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the government of, and costs incurred by victims primarily to aid the government in, the

prosecution and criminal investigation of an offense.”                  U.S.S.G. § 2B1.1 application note

3(D)(ii); United States. v. Schuster, 467 F.3d 614, 618-620 (7th Cir. 2006). This explicit

prohibition on including Government costs as loss amounts applies to the Government’s costs to

return detainee property in this case. 3 For all of those reasons, Mr. Bailey is not responsible for

the projected Government expense of reimbursing Mr. Wynne’s victims, and his Guidelines

calculation should not include that cost.

          b.      Mr. Bailey is Not Responsible, for Guidelines Purposes, for All of Mr.
                  Wynne’s Theft Victims and the Losses They Incurred

          The Plea Agreement notes a dispute between Mr. Bailey and the Government over the

proper Guidelines calculation for the offense of Misprision of a Felony. It states,

          [t]he parties agree on all sentencing factors except the following: the applicable
          advisory guideline range for Count Five of the Superseding Indictment under
          USSG §§ 2X1.1 and 2B1.1, including the total loss amount and the total number
          of victims for which defendant ROY M. BAILEY can be held accountable.

Rule 11 Plea Agreement at 12. The Government, in calculating the Guidelines range, holds Mr.

Bailey responsible for all of Mr. Wynne’s victims and the entire monetary loss amount caused by

Mr. Wynne’s thefts. It is uncontested that Mr. Bailey did not know about Mr. Wynne’s thefts

until long after they began. It is also true that Mr. Bailey tried to correct some of the problems

concerning the property at the Monroe Detention Center where Mr. Wynne perpetrated his
          4
crimes.        In the defense’s view, Mr. Bailey should not be held accountable for Mr. Wynne’s


3
 If anything, this loss is a “consequential damage.” United States v. Simpson, 538 F.3d 459, 464 (6th Cir. 2008).
Such losses are excluded from 2B1.1 calculations. Id.
4
  Mr. Bailey directly confronted Mr. Wynne about missing detainee property in an effort to have Mr. Wynne fix the
problem. One deportation officer, Ricardo Wong, told investigating agents, “[p]roperty complaints came in on a
regular basis and you can hear Mr. Bailey and Mr. Wynne going at it about property that was not returned or shipped
to detainees or to their family.” Additionally, Ms. Patricia Washington-Green reported to the Government that she
had heard Mr. Bailey “reprimand” Mr. Wynne regarding missing property.



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 victims or the amount of loss they generated because those victims are not Mr. Bailey’s victims,

 they are Mr. Wynne’s alone.

        Mr. Wynne’s thefts of detainee property occurred between 2000 and 2004. See PSR at

 ¶18; see also Memorandum of the United State of America as to (1) Amount of Loss and (2)

 Total Number of Victims of Defendant’s Criminal Activities at 1.          To show Mr. Bailey’s

 knowledge, the Government relies on 1) the fact that “in or about 2002” Mr. Bailey reprimanded

 a Detention Officer who complained about a detainee not receiving his property from Mr.

 Wynne; 2) the fact that “[i]n September 2003,” two other officers notified Mr. Bailey of Mr.

 Wynne’s alleged theft of detainee property; and 3) an April 2003 complaint by the relative of a

 deportee who had not received her prisoner property from Mr. Wynne. See PSR at ¶¶19, 20, 21.

 By all accounts, each of these exchanges occurred at least two years after Mr. Wynne began

 stealing detainee property. Despite this, the Government asks the Court to hold Mr. Bailey

 accountable for all of Mr. Wynne’s victims and the total amount of cash and property that Mr.

 Wynne took from detainees regardless of when Mr. Bailey learned about the thefts and

 irrespective of the fact that he did not participate in them.       Such a result would offend

 fundamental fairness and common sense.

 IV.    THE SENTENCING FACTORS IN 18 U.S.C. § 3553(a) FULLY SUPPORT A
        SENTENCE OF FOURTEEN MONTHS OF INCARCERATION

        As explained in Section II above, the Sentencing Guidelines are no longer mandatory,

 and the Supreme Court has made clear that it is the duty of the District Court to impose sentence

 after considering not only the advisory Guidelines range, but also all of the factors enumerated in

 18 U.S.C. § 3553(a). See Gall, 128 S. Ct. at 596 (the Guidelines are the “starting point” but

 district court “should then consider all of the § 3553(a) factors” before imposing sentence). 18




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 U.S.C. § 3553(a) sets forth the following factors, in addition to the applicable advisory

 Guidelines range, to be considered by the District Court:

        (1)     the nature and circumstances of the offense and the history and
                characteristics of the defendant;

        (2)     the need for the sentence imposed –

                   (A) to reflect the seriousness of the offense, to promote respect for the
                      law, and to provide just punishment for the offense;
                   (B) to afford adequate deterrence to criminal conduct;
                   (C) to protect the public from further crimes of the defendant; and
                   (D) to provide the defendant with needed educational or vocational
                      training, medical care, or other correctional treatment in the most
                      effective manner;

        (3)     the kinds of sentences available;

                                     *   *    *      *   *

        (6)     the need to avoid unwarranted sentence disparities among defendants with
                similar records who have been found guilty of similar conduct; and

        (7)     the need to provide restitution to any victims of the offense.

 The Court must consider these factors and arrive at “a sentence sufficient, but not greater than

 necessary,” to achieve Congress’s sentencing purposes. 18 U.S.C. § 3553(a). In this case,

 application of those factors supports Mr. Bailey’s request for a sentence of fourteen months.

        a.      Mr. Bailey’s Personal History and Characteristics

        Roy Bailey was born and raised in Michigan. He is 55 years old and has no prior

 criminal record. He has been married to his wife Carol for 29 years. The couple has two

 children and has lived in their Romulus home for more than 20 years. Professionally, Mr. Bailey

 has spent decades serving the United States in various capacities. In 1971, he enlisted in the

 United States Air Force. In 1975, Mr. Bailey completed his military service and was honorably

 discharged with the rank of Sergeant. Following his military service, Mr. Bailey joined the




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 United States Department of Transportation where he worked as an air traffic controller for the

 Federal Aviation Administration. He remained there until 1981. Mr. Bailey then attended the

 University of Toledo and obtained a B.S. in Public Administration in 1986. After graduating

 from college, Mr. Bailey became a criminal investigator for the Immigration and Naturalization

 Service (INS). He remained in that position until 1999. In 1999, after interviewing for the

 position of Supervisory Deportation Officer (SDO) with INS, Mr. Bailey was appointed to the

 higher position of Assistant District Director of Detention and Removal (ADD). In March of

 2003, following INS’s reorganization pursuant to the Homeland Security Act of 2002, Mr.

 Bailey was appointed Acting Field Office Director for the Department of Homeland

 Security/Immigration and Customs Enforcement (ICE). Throughout his tenure as ADD with

 INS and Acting Field Office Director with ICE -- which were essentially the same position --

 Mr. Bailey consistently received excellent performance ratings from his supervisors. 5 He held

 that post until 2004, when he was suspended due to the investigation that led to the instant

 charges.

         In addition to his laudable professional achievements in public service, Mr. Bailey is a

 devoted family man and many regard him as a caring neighbor and loyal friend. Many of those

 close to Mr. Bailey and familiar with his character have written letters to the Court expressing

 their support for Mr. Bailey and attesting to his many character strengths. Mr. Bailey’s wife of

 twenty-nine years writes,

         Roy is a strong, caring, compassionate and loving person … Roy has never shied
         away from making a decision or taking a stand because it was uncomfortable or
         difficult. Roy … [has] shared the duty of caregiver, traveling to Ohio and helping
         my father with his physical therapy and insuring his needs were being met, which
         kept me from being overwhelmed. When my father passed in February of 2008, it

 5
   One of Mr. Bailey’s supervisors has previously testified that Mr. Bailey consistently “got excellents to
 outstandings” because of the manner in which he performed the job’s “critical elements” and handled the “service
 priorities” of his position.


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        was Roy that effectively kept our family focused on what needed to be done and
        in perspective.

 Exhibit 1 (Carol Bailey letter). Mr. Bailey’s son Craig says,

        My father is one of the most hard working and honest people I know. Growing
        up I was always taught that if you say you’re going to do something then it’s
        important to do your best to keep your word. These and other values are what
        helped lead me into adulthood and the person I am now… Anytime a friend or
        family member has a situation my dad is the first one to help out. Whether it be
        offering advice, giving help or knowing the right people to go to, there hasn’t
        been a situation where my dad wasn’t willing to offer whatever help he could.

 Exhibit 1 (Craig Bailey letter). By all accounts, Mr. Bailey is an exceptional husband and father

 who has consistently provided love and support to his family in their times of need.

        Mr. Bailey also devotes himself to his friends and neighbors and performs volunteer work

 in Michigan. Ms. Andrea Kyriacou, a close friend of the Bailey family, writes,

        Both Carol and Roy have been important in helping German Shepherd Dog
        Rescue of Michigan. This organization takes homeless German Shepherd dogs
        and places them in permanent homes. It is through both Roy and Carol, dogs that
        would have been euthanized now have safe homes. He is a good friend, good
        husband, good father, and a good person.

 Exhibit 1 (Andrea Kyriacou letter). According to Mr. and Mrs. Reginald Dawson, longtime

 friends of the Bailey family,

        One example of [Mr. Bailey’s] generosity and community-mindedness is his
        support for the Wayne County 4-H club. He makes a point of attending the
        annual Wayne County fair so that he can support the 4-H Club’s efforts when
        their livestock is put up for auction… Roy Bailey has also shown support to local
        charities. One charity in particular is Operation Good Cheer, which is an annual
        event that brings Christmas to Michigan children who otherwise would go
        without. He has been a regular participant with and contributor to a local group
        that actively supports OP Good Cheer.

 See Exhibit 1 (Mr. and Mrs. Reginald Dawson letter).

        Mr. Bailey’s distinguished career and the letters of support submitted to the Court by his

 family and friends demonstrate that Mr. Bailey is, at his core, a good person who engaged in




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 conduct that was not in keeping with the character and integrity he has demonstrated in other

 aspects of his life.   Mr. Bailey has served his country, supported his family, performed

 community service, and shown kindness and loyalty to many people. Mr. Bailey understands

 that he must be punished for his crimes, but a complete evaluation of Mr. Bailey’s “personal

 history and characteristics” pursuant to 18 U.S.C. § 3553(a)(1) reveals many commendable

 attributes that must be considered by this Court and weigh in his favor as the Court determines a

 punishment “sufficient, but not greater than necessary.” 18 U.S.C. § 3553(a).

        b.      The Nature and Circumstances of the Offense

        Mr. Bailey agrees with the factual recitations contained in the Plea Agreement and the

 PSR. He fully admits his participation in the crimes that have brought him before the Court.

 However, certain facts that are not reflected in the Plea Agreement or the PSR add valuable

 context to Mr. Bailey’s crimes and should assist the Court in determining the degree of

 punishment that is fair and reasonable in the circumstances of this case.

        Mr. Bailey is before the Court because, after more than two decades of honorable

 government service and a law-abiding life, he became seduced by the attention, favors, and

 gratuities that people offered him as a result of his position with INS/ICE. In 1999, after nearly

 12 years at INS, Mr. Bailey applied for the position of INS Supervisory Deportation Officer.

 After interviewing with eight people, Mr. Bailey was chosen for that position. On the day that he

 reported to begin work as an SDO, he was told that he was being appointed to the even higher

 position of Assistant District Director of Detention and Removal (ADD) because the previous

 ADD had been terminated for poor performance. As ADD, Mr. Bailey would manage Detention

 and Removal Operations (DRO), a department of twenty employees with an $8,000,000 budget.

 They had six cars, fifteen vans, and housed detainees at about twenty different jails. When Mr.




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 Bailey became the ADD, DRO was in total disarray. Employees were not held accountable, the

 department’s vehicles were abused and not maintained, employees made their own travel

 arrangements and abused their travel privileges, the computer system was archaic, and there was

 terrible infighting. 6 Mr. Bailey received no training and had no time to prepare for taking over

 the dysfunctional unit. One of Mr. Bailey’s supervisors has testified that DRO was “understaffed

 and overwhelmed.” The department “needed additional personnel, we needed space, we needed

 positions . . . money, we needed all sorts of things.” Mr. Bailey worked hard to get the

 Department under control and had some successes. Under Mr. Bailey, the computer system was

 modernized, a travel manager was established, and the detainee population, which increased

 from sixty-two to over 350, was centralized. Throughout his tenure as ADD, Mr. Bailey always

 received performance ratings of excellent and outstanding. See Supra n. 5.

         Mr. Bailey’s sudden promotion to ADD not only burdened him with the pressures of

 running and improving a poorly-functioning department, it also instantly elevated him from an

 anonymous government servant to a man of prominence in certain circles. Mr. Bailey was not

 prepared for either change. After he became ADD, many businessmen, attorneys, and others

 regarded Mr. Bailey as a powerful figure and treated him like a V.I.P. Mr. Bailey considered

 some of those people to be his friends and accepted their offerings. Those friends then sought

 immigration favors from Mr. Bailey in return. A weakness in Mr. Bailey’s character -- one he

 was not previously aware of but that he now fully acknowledges -- led him to oblige those

 friends in ways that were wrong and illegal. Mr. Bailey should have known better, and he

 6
   In his sentencing memorandum, counsel for Antonio Ivezaj highlights the problems at DRO and places all of the
 blame at Mr. Bailey’s feet without acknowledging the pervasive problems that preceded Mr. Bailey’s tenure. He
 then compares Mr. Bailey to Mr. Ivezaj and argues that Mr. Ivezaj should receive a lighter sentence. His
 comparison of these two men is absurd. Mr. Ivezaj has prior criminal convictions for 3rd Degree Criminal Sexual
 Conduct (2 counts), Assault with Intent to Commit Sexual Penetration, 4th Degree Sexual Conduct and Absconding.
 His Guidelines range is higher than Mr. Bailey’s because of this criminal history. Unlike Mr. Ivezaj, Mr. Bailey has
 no criminal history and has honorably served his country in many capacities including as a Sergeant in the United
 States Air Force.


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 regrets his actions deeply, because he is not only ashamed by his conduct and the weakness it

 shows, but also for the shame and humiliation he has brought to his family.

            But Mr. Bailey did not act to enrich himself monetarily; in fact, the items he accepted

 were all things that he easily could have afforded on his own. Although this does not excuse his

 conduct, Mr. Bailey’s crimes occurred because he was unprepared to handle his sudden stature (a

 stature he did not himself seek out), and he became intoxicated by the excitement of being

 treated as an important person. Mr. Bailey liked receiving attention when he walked into certain

 restaurants. He felt important when successful people afforded him special treatment. Most of

 what Mr. Bailey received over the years was relatively minor consideration. The PSR lists

 approximately $5000 in free meals from Leon’s Family Diner, $5000 in casino chips, and $500

 in gifts of jewelry, alcohol and clothing that restaurateur Samir Leon gave Mr. Bailey over a

 five-year period. Most of Mr. Bailey’s meals at Leon’s Family Diner cost around $10, often less.

 He could easily have purchased that food himself without any financial stress. Mr. Bailey is not

 a frequent gambler and was not in need of any casino chips. The gifts of jewelry, alcohol and

 clothing were mostly Christmas gifts and, Mr. Bailey also gave Christmas gifts to Mr. Leon,

 whom he believed to be a friend.

            The same is true for the consideration that Mr. Bailey received from Namir Daman. Mr.

 Bailey received $500 in landscaping services from Mr. Daman, and Mr. Daman paid $1500 for

 an attorney that Mr. Bailey consulted. 7 Mr. Bailey could have afforded to pay for those things.

 Rather than acting to gain financially, Mr. Bailey was motivated by his own weakness for special

 treatment. Rather than being greedy, Mr. Bailey was simply unprepared for his position and

 became weak to the attention it brought his way.



 7
     Mr. Daman has been sentenced by this Court to thirty-six months of probation in case no. 07-20590.


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        Although the PSR refers to monetary payments, those payments were not made to Mr.

 Bailey, and Mr. Bailey never received cash payments from Samir Leon, Namir Daman, or Talal

 Chahine. The PSR references restitution payments of $10,000 and over $250,000 that, with Mr.

 Bailey’s assistance, Talal Chahine recovered from employees who had stolen money from him.

 See PSR at ¶¶30, 31. Mr. Bailey did not receive any of that money. Similarly, Mr. Bailey did

 not receive any of the approximately $308,736.76 in money and items that Patrick Wynne stole

 from INS/ICE detainees. The Government conducted a thorough investigation of Mr. Bailey’s

 assets, finances, and tax filings and has verified that, beyond the consideration listed in the Plea

 Agreement and the PSR, Mr. Bailey was not financially enriched as a result of his crimes. The

 information before the Court thus demonstrates that Mr. Bailey was not motivated by monetary

 greed, but instead by a weakness for the attention that accompanied the gratuities he received.

 While no motivation to commit a crime is acceptable, when evaluating “the nature and

 circumstances of the offense” in this case, Mr. Bailey asks the Court to consider that he was not

 significantly enriched by his misdeeds.

        Mr. Bailey does not dispute any of the facts stated in the Plea Agreement or the PSR, but

 he does ask the Court to consider additional information that provides context to some of the

 facts listed in the PSR. For example, the PSR states,

        Further, between 2001 and 2004, BAILEY was aware of and approved monthly
        payments for two private storage units rented by Wynne. These units were used
        by Wynne to store and conceal property stolen from aliens.

 PSR at ¶18. Mr. Bailey agrees that he approved the payments for the storage units. Although

 Mr. Bailey was aware of Mr. Wynne’s property crimes and agrees that he is guilty of Misprision,

 Mr. Bailey did not know that Mr. Wynne used those storage units to store property stolen from

 aliens. When Mr. Wynne sought Mr. Bailey’s approval to pay for the storage units, Mr. Wynne




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 stated that the storage units were necessary to warehouse large and bulky items seized from

 aliens. Mr. Bailey believed him. Mr. Bailey did not knowingly approve payment for a storage

 site for Mr. Wynne to hide stolen property.

         The PSR also states,

         []Farraj retained Daman, who immediately contacted BAILEY and ensured that
         Farraj was not deported. Thereafter Daman was able to secure Farraj’s release
         from ICE custody on October 7, 2002. On October 17, 2003, Farraj was charged
         with homicide in Macomb County and is currently serving a 25 to 50 year
         sentence for Second Degree Murder.

 PSR at ¶24. Mr. Bailey admits that he assisted Mr. Daman by not immediately initiating Mr.

 Farraj’s deportation and that this was a criminal act. It is noteworthy, however, that Mr. Farraj’s

 case caused great confusion within ICE for reasons that had nothing to do with Mr. Bailey. In

 fact, as a result of errors that Mr. Bailey was not aware of, there were several different

 immigration files with different A-file numbers for Mr. Farraj. As a result, neither the agents,

 nor Mr. Bailey knew the full extent of Mr. Farraj’s immigration situation.                        Mr. Bailey’s

 intervention resulted in only a ten-day delay in Mr. Farraj’s deportation proceedings.

 Realistically, Mr. Farraj would not have been deported within that ten-day period in any event.

 Ultimately, Mr. Daman successfully pursued relief for Mr. Farraj through the immigration court.

         The PSR further states, “[Nawal Younan] retained Daman, who charged $5,000.00 and

 advised her he would use some of the money to ‘feed’ BAILEY.” See PSR at ¶25. It is

 uncontested that Mr. Daman never paid any of the money that he received from Ms. Younan to

 Mr. Bailey. 8 Mr. Daman often boasted about his friendship with Mr. Bailey and used Mr.

 Bailey’s name when marketing himself to clients and justifying his fees.


 8
   The PSR also says, “[a]s a result, Younan was not removed from the United States despite having a valid order of
 removal on file.” PSR at ¶25. While Ms. Younan’s deportation was unlawfully delayed by Mr. Bailey’s actions,
 ultimately, she was deported. Ms. Younan’s husband and daughter were deported on December 25, 2003. She was
 allowed to remain in the United States for a short time longer and was deported in early 2004.


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        The PSR states,

        Between October 2000 and January 2005, BAILEY allowed Haddad to enter the
        United States based on a false application filed with INS, change her status as a
        lawful resident of the United States, and then adjust her status to a lawful
        permanent resident of the United States.

 PSR at ¶27. This statement is accurate in the sense that Mr. Bailey did not reveal Ms. Haddad’s

 unlawful presence in the United States or take action to prevent her frauds. However, Mr. Bailey

 did not facilitate Ms. Haddad’s initial entry into the United States or directly assist with her

 efforts to change her immigration status. Mr. Bailey had no involvement in the marriage scam

 beyond that stated in ¶26 of the PSR, specifically, Mr. Bailey “advised LEON to hire an

 immigration attorney, Namir Daman. BAILEY advised Leon that Daman was a person who

 could work the immigration system to bring Haddad into the United States and keep her here

 thereafter.”

        c.      Deterrence, Incapacitation and Rehabilitation

        The Court is required to consider the need for the sentence imposed to deter further

 criminal conduct and rehabilitate the offender. See 18 U.S.C. § 3553(a)(2). In this case, specific

 deterrence has already been achieved. Mr. Bailey stands disgraced by his actions and the

 resulting criminal convictions. He lost his career and has brought shame to himself and his

 family. Becoming a criminal defendant has been a jolting experience for a man who has served

 as a soldier, a law enforcement officer, and a government official, and who never fathomed that

 he would find himself in prison for any reason.         This experience, independent from the

 incarceration that lies ahead, has humiliated Mr. Bailey and given him a clear understanding of,

 and regret for, his past conduct. Furthermore, the termination of Mr. Bailey’s government

 service renders him incapable of repeating his conduct.        Mr. Bailey’s removal from the

 government, and the shame and humiliation that this criminal prosecution has brought to him,



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 will deter him from ever breaking the law again. For those same reasons, incarceration to

 incapacitate Mr. Bailey is unwarranted, because Mr. Bailey poses no risk of recidivism and is not

 a danger to the public.

        Rehabilitation, like incapacitation, should not factor meaningfully into Mr. Bailey’s

 sentence. Mr. Bailey is not addicted to drugs or alcohol and, aside from the depression and

 anxiety caused by this case, he does not suffer from any psychological disabilities. See PSR at

 ¶71. Instead of Court-imposed rehabilitation, Mr. Bailey needs to rehabilitate his own character

 and restore in himself the values that he personified for most of his life. He has already traveled

 far down that road. Mr. Bailey has confronted the reality of his own misconduct, he understands

 the weaknesses within him that led him to commit these crimes, and he accepts the fact that he

 must be punished. Mr. Bailey’s acceptance of these facts has progressed steadily over time. At

 times after his arraignment, Mr. Bailey struggled to grasp the reality that he is a criminal

 defendant and had difficulty acknowledging and accepting the fact that he had committed crimes

 during his government service. After taking a hard look at himself and his actions over several

 months, Mr. Bailey fully accepts what he has done and I prepared to receive the consequences of

 his conduct. Through introspection and psychological therapy, Mr. Bailey has achieved the type

 of rehabilitation that is necessary to ensure that he never again engages in criminal activity.

 V.     CONCLUSION: FOURTEEN MONTHS OF INCARCERATION IS THE
        APPROPRIATE SENTENCE

        Mr. Bailey does not ask the Court to excuse his misdeeds or to spare him from

 incarceration altogether. He asks the Court only to view his conduct in the broader context of his

 otherwise upstanding life, his career of military and government service, and his sincere

 acceptance of responsibility. The advisory range of imprisonment for Mr. Bailey under the

 Sentencing Guidelines is thirty-to-thirty-seven months of incarceration. Mr. Bailey asks the



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 Court to conclude that this sentencing range is greater than necessary to achieve the sentencing

 purposes of 18 U.S.C. § 3553(a). In light of the factors set forth herein, counsel for Mr. Bailey

 respectfully submits that fourteen months of incarceration is the appropriate sentence.

 Dated: March 4, 2009                         Respectfully submitted,


                                              /s/ Michael Starr
                                              Michael Starr
                                              On Behalf of Roy Bailey
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 4, 2009, I electronically filed the foregoing Sentencing

 Memorandum with the Clerk of the Court using the ECF system, which will send notification of

 such filing to the following:

 AUSA Bruce C. Judge
 211 W. Fort Street
 Suite 2001
 Detroit, MI 48226
 Bruce.judge@usdoj.gov

                                                   /s/ Michael Starr
                                                   Michael Starr




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